       Case 1:20-cv-04809-TCB Document 31 Filed 12/01/20 Page 1 of 3




          IN THE UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

CORECO JA’QAN PEARSON, VIKKI
TOWNSEND CONSIGLIO, GLORIA KAY
GODWIN, JAMES KENNETH CARROLL,                           CASE NO.
CAROLYN HALL FISHER, CATHLEEN
ALSTON LATHAM and BRIAN JAY VAN                          1:20-cv-4809-TCB
GUNDY,
Plaintiffs,
v.
BRIAN KEMP, in his official capacity as
Governor of Georgia, BRAD
RAFFENSPERGER, in his official capacity as
Secretary of State and Chair of the Georgia
State Election Board, DAVID J. WORLEY, in his
official capacity as a member of the Georgia
State Election Board, REBECCA N.SULLIVAN,
in her official capacity as a member of the
Georgia State Election Board, MATTHEW
MASHBURN, in his official capacity as a
member of the Georgia State Election Board,
and ANH LE, in her official capacity as a
member of the Georgia State Election Board,

Defendants.

                         NOTICE OF FILING

     Come Now the Plaintiffs and submit this Notice of Filing of Exhibit 21,

the Declaration of Ronald Watkins.

     Respectfully submitted, this 1st day of December 2020.



                                     /s Sidney Powell*
                                     Sidney Powell PC
                                     Texas Bar No. 16209700
2911 Turtle Creek Blvd, Suite 300
        Case 1:20-cv-04809-TCB Document 31 Filed 12/01/20 Page 2 of 3




Dallas, Texas 75219
(214) 707-1775
*Application for admission pro hac vice
forthcoming

                                   CALDWELL, PROPST & DELOACH,
                                   LLP

                                   /s/ Harry W. MacDougald
                                   Harry W. MacDougald
                                   Georgia Bar No. 463076

CALDWELL, PROPST & DELOACH, LLP
Two Ravinia Drive, Suite 1600
Atlanta, GA 30346
(404) 843-1956 – Telephone
(404) 843-2737 – Facsimile
hmacdougald@cpdlawyers.com

Counsel for Plaintiffs

Attorneys for Plaintiffs



      The undersigned certifies that the foregoing document was prepared in

13-point Century Schoolbook font and in accordance with the margin and

other requirements of Local Rule 5.1.



                                   s/ Harry W. MacDougald
                                   Harry W. MacDougald
                                   Georgia Bar No. 463076
       Case 1:20-cv-04809-TCB Document 31 Filed 12/01/20 Page 3 of 3




                     CERTIFICATE OF SERVICE

      This is to certify that I have on this day e-filed the foregoing Notice of

Filing with the Clerk of Court using the CM/ECF system which will cause

service to made upon counsel of record therein.

                                    s/ Harry W. MacDougald
                                    Harry W. MacDougald
                                    Georgia Bar No. 463076

Caldwell, Propst & DeLoach, LLP
Two Ravinia Drive, Suite 1600
Atlanta, GA 30346
404-843-1956
